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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                               Case No. 8:03-cr-54-T-17TBM

LESLIE BARNES,

       Defendant,

       and


ONE TOUCH DIRECT, LLC,

       Garnishee.


                           FINAL ORDER IN GARNISHMENT


       THIS CAUSE came on for consideration upon the United States of America's

Motion for Entry of Final Order in Garnishment pursuant to 28 U.S.C. § 3205(c)(7)

against the nonexempt disposable earnings of Defendant Leslie Barnes. The Court,

having considered the Application for Writ of Continuing Garnishment, Garnishee One

Touch Direct, LLC's, Answer, and the instant Motion for Entry of Final Order in

Garnishment, and noting that Defendant has not claimed any exemptions with respect

to this garnishment, has not filed any objection to Garnishee's Answer, and has not

requested a hearing with respect to this garnishment, finds that the entry of a final order

in garnishment is in all respects proper.

      Accordingly, it is


       ORDERED, ADJUDGED, AND DECREED that the United States of America's

Motion for Entry of Final Order in Garnishment is granted. It is further
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       ORDERED, ADJUDGED, AND DECREED that Garnishee One Touch Direct,

LLC, shall pay to the United States, bi-weekly, the appropriate statutory amount of

Defendant's nonexempt disposable earnings. It is further

       ORDERED, ADJUDGED, AND DECREED that Garnishee shall continue to

make bi-weekly payments to the United States pursuant to this Order until such time as

the instant garnishment is terminated by court order, by exhaustion of the Defendant's

nonexempt disposable earnings in Gamishee's custody, control, or possession, or by


satisfaction of the judgment debt. It is further

       ORDERED, ADJUDGED, AND DECREED that all monies previously withheld by

Garnishee from Defendant's nonexempt disposable earnings in accordance with the

Writ of Continuing Garnishment shall be paid forthwith to the United States. It is further

       ORDERED, ADJUDGED, AND DECREED that all payments made to the United

States pursuant to this Order shall bear the notation "Leslie Barnes, Case No. 8:03-cr-

54-T-17TBM," be made payable to "Clerk, United States District Court," and be sent to:

              Clerk, United States District Court
              ATTN: DCU
              300 North Hogan Street, Suite 9-400
              Jacksonville, Florida 32202.

       DONE and ORDERED at Tampa, Florida, on




                                                    United States Distnc
